Case 1:18-cv-00077-SOM-KJM Document 5-1 Filed 03/02/18 Page 1 of 9                         PageID #: 36




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  JASON MANGONON
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  Petitioners Pro Se



                       IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

                                        STATE OF HAWAII
                                                                         18-1-0049
   COLBY JOHNSON, and JASON                          S.P. NO.                                                         VLC
   MANGONON,                                         (Specia.I Proceedings)

                  Petitioners.
                                                     VERIFIED PETITION TO PROVIDE
          v.                                         DEPOSmON BEFORE ACTION IN
                                                     ACCORDANCE WITH H.R.C.P.
   UNITED AIRLINES, INC,                             RULE 27; NOTICE OF HE    G                                    : . ....,
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                  Respondent.

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         VERIFIED PETITION TO PROVIDE DEPOSITION BEFORE ACTirN IN                                     9 ::rJ >          ·.J


                     ACCORDANCE WITH H.R.C.P. RULE 27                                                 - · ~ ·:::!
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         COME NOW Petitioners COLBY JOHNSON and JASON MANGONON · ·
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  ("Petitioners"), and hereby present this Verified Petition in accordance with Hawaii Rules of

  Civil Procedure Rule 27 for the perpetuation of testimony in an anticipated action before this

  Honorable Court, and allege as follows:

         1.      The Petitioners were, at all times relevant, individuals and residents of Honolulu

  County, Hawaii. Petitioners were passengers on United Flight No. 1589, on December 31, 2017.

         2.      Potential adverse party and Respondent,            UNITED AIRLINES,                  INC.

  ("Respondent") is an airline headquartered in Chicago, Illinois, with a principal business address
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  of Lobby 8, Overseas Terminal, Daniel K. Inouye International ~rt, Honolulu, Hawaii, and

  engaged in operating flights both to and from Daniel K.. Inouye International Airport in

  Honolulu, Hawaii.

         3.      Petitioners expect to be a party to an action cogniz.able in a court of this State but

  are presently unable to bring it or cause it to be brought because Petitioners are lacking

  information to establish the necessary agency relationship between a crewmember on United

  Flight No. 1589 and Respondent. Petitioners are unable to establish the prim.a facie case for a

  breach of contract cause of action without the contract of carriage maintained by United.

  Additionally, Petitioners are unable to establish the prima facie case for negligence per se

  without the records of the reports allegedly made by Respondent to the Federal Aviation

  Authority ("FAA") as governed by law.

         4.      Petitioners submitted a Freedom of Information Act Request to the FAA to obtain

  any and all preJiminary accident or incident reports for United Flight No. 1589 on December 31,

  2017. Petitioners have thus far been unable to obtain any preJ;m;nary accident or incident

  reports related to United Flight No. 1589. Petitioners have been unable to obtain any reports

  required of Respondent for intoxicated passengers and Bomb or Air Piracy threats.

         5.      It is anticipated that the subject matter of the expected action will be Negligence,

  Negligence Per Se, Breach of Contract, and Negligent Infliction of Emotional Distress.

  Petitioners anticipate that they will be Plaintiffs in the anticipated action against expected

  adverse party and Respondent United Airlines, Inc.

         6.      Petitioners seek to establish that the crew member involved in the subject matter

  of the anticipated litigation was an agent of United, and that United is liable for the negligence of

  its agents. Petitioners also seek to establish that United was negligent per se for its violation of
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         the requirements established by 14 C.F.R. § 135.121 for the Improper Serving of Alcoholic

         Beverages and 49 C.F.R. § 1544.303 for the improper handling of Bomb or Air Piracy Threats,

         and for its failure to report these incidents to the FAA within the proscribed timeline.

                7.      Petitioners anticipate that United Airlines, Inc. is the expected adverse party. As

         reflected on the Department of Commerce and Consumer Affairs public information, United

         Airline Inc.' s agency address for personal service within the State of Hawaii is:

                United Airlines, Inc.
                c/o The Corporation Company, Inc., its Registered Agent
                1136 Union Mall, Suite 301
                Honolulu, Hawaii 96813

                8.      Petitioners respectfully request that this Honorable Court enter an Order

         permitting the Petitioners to perform a written or oral examination of the Adjuster for United's

         Corporate Insurance Department who conducted the investigation of the events relevant to the

         anticipated action before this Honorable Court. The party to be examined is:

                Mr. Darrell Simpson
                Corporate Insurance - Analyst
                1600 Smith Street
                Houston, Texas 77002

                9.      Petitioners respectfully request that this Honorable Court enter an Order

         compelling the expected adverse party, United Airlines, Inc. to produce and preserve the

         following documents:

                        (a)     the cockpit voice recording (CVR) for United Airlines Flight No. 1589 on
                                December 31, 2017;

                        (b)     the complete December 31, 2017 passenger list for United Airlines Flight
                                No. 1589;

                        (c)     the complete December 31, 2017 employee and crew list for United
                                Airlines Flight No. 1589;

                        (d)     all accident or incident reports submitted to the FAA by United Airlines in
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                           relation to United Airlines Flight No. 1589 on December 31, 2017;

                 (e)       all employee, crew member, and pilot statements taken in relation to
                           United Airlines Flight No. 1589 on December 31, 2017.

          10.    Petitioners believe the requested examination and production and protection of

  evidentiary items (a) through (e) is crucial and necessary, as each item is in the sole possession

  and custody of the Respondent. Petitioners believe that serious prejudice will occur should the

  requested relief be denied by this Honorable Court.

         WHEREFORE~         Petitioners respectfully pray for the entry of an Order granting the

  aforementioned relief.

         DATED: Honolulu, Hawaii,. February _ _         8______,2018.

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                                                 Petitioner Pro




  Petitioners declare under penalty of perjury that the foregoing is true and correct.


         DATED: Honolulu, Hawaii, February _ _ _ _ _ 2018.
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     Case 1:18-cv-00077-SOM-KJM Document 5-1 Filed 03/02/18 Page 5 of 9                          PageID #: 40




                              IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

                                               STATE OF HAWAII
                                                                                 18-1-0049                 VLc
           COLBYJOHNSON,andJASON                            S.P. NO.
           MANGONON,                                        {Special Proceedings)

                         Petitioners.
                                                             NOTICE OF HEARING
                  v.

           UNITED AIRLINES, INC,

                         Respondent.


                                             NOTICE OF HEARING

          TO THE ABOVE-NAMED RESPONDENT

                 Please take Notice that a Hearing on the Petitioner's Verified Petition to Provide

          Deposition Before Action in Accordance With H.R.C.P. Rule 27 will be held at:

          777 Punchbowl Street, Honolulu, Hawaii 9681311111 Alakea St, Honolulu, lil 96813

          before the Honorable
                                 -------- ---. The Verified Petition will come on
          for hearing on _ _ _ _ _ _ _ _ _ _ 2018 at _ _ _ _ __


          DATED: Honolulu, Hawaii,      f!btv4ry 8, 2 o Id


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                                                       Petitioner Pro Se
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                                                                                              ·r IRST CIR'CUIT COURT <-·,
                                                                                                  STATE OF fiAWAU
          COLBY JOHNSON                                                                               FILED
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          Petitioners Pro Se



                               IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

                                               STATE OF HAWAII                                            {fV
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         ----------------TIME:                                                                                     ~~
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                 VERIFIED PETITION TO PROVIDE               ~~~::~\IUIOAN::U:r-JBIUEl=IJFO~RE~A:ECATfO-GRNil__ ~IN~..Lc;i f!.~;
                             ACCORDANCE Wim H.R.C.P. RULE 27                                       ~ !3            ~ ~~           =
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         County, Hawaii. Petitioners were passengers on United Flight No. 1589, on December 31, 2017.

                 2.     Potential   adverse   party   and    Respondent,       UNITED         AIRLINES,           INC.

 ----.. ("Respondent") is an: airline headquartered in Chicago, Illinois, with a principal business address

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 ......                                      Document 5-1 Filed 03/02/18 Page 7 of 9               PageID #: 42




          of Lobby 8, Overseas Terminal, Daniel K. Inouye International Airport, Honolulu, Hawaii, and

          engaged in operating flights both to and from Daniel K. Inouye International Airport in

          Honolulu, Hawaii.

                  3.      Petitioners expect to be a party to an action cognizable in a court of this State but

          are presently unable to bring it or cause it to be brought because Petitioners are lacking

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     ...                                      Document 5-1 Filed 03/02/18 Page 8 of 9                  PageID #: 43




           the requirements established by 14 C.F.R. § 135.121 for the Improper Serving of Alcoholic

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                          (c)     the complete December 31, 2017 employee and crew list for United
                                  Airlines Flight No. 1589;

                          (d)     all accident or incident reports submitted to the FAA by United Airlines in
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                      IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

                                            STATE OF HAWAII
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  COLBY JOHNSON, and JASON                            S.P. NO.
  MANGONON,                                           (Special Proceedings)

                 Petitioners.
                                                      NOTICE OF HEARING
         v.
  UNITED AIRLINES, INC,

                 Respondent.


                                           NOTICE OF HEARING

 TO THE ABOVE-NAMED RESPONDENT

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  777 Punchbowl Stree4 Honolulu, Hawaii 96813 I 1111 Alakea S4 Honolulu, HI 96813

  before the Honorable JUDGE VIRGINIA LEA CRANDALL The Verified Petition will come on

  forhearingon   Mo~                 (J.            ,2018at     {o;oo a-rn .
  DATED: Honolulu, Hawaii,          f !b tv4ty 8 , 2 0 Id



                                                 Petitioner Pro Se
